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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                           *
                                                   *
       vs.                                         *
                                                   *      Case No.: 21-cr-720 TFH
EZEKIEL KURT STECHER                               *
                                                   *
       Defendant                                   *

        SUPPLEMENTAL LINE CONSENTING TO THE EXCLUSION OF TIME
                     UNDER THE SPEEDY TRIAL ACT

       COMES NOW the Defendant, Ezekiel Kurt Stecher, by and through his attorney,

Michael E. Lawlor, and Nicholas G. Madiou, Brennan, McKenna & Lawlor, Chtd., and

respectfully files this line consenting to the exclusion of time under the speedy trial act. In

support of this notice, counsel state the following:


       1.       A joint status was previously filed in the above referenced matter requesting

additional time to finalize plea negotiations.

       2.       Undersigned counsel discussed this request with Mr. Stecher, and is

authorized to state that he consents to the retroactive exclusion of time under the Speedy

Trial Act from February 24, 2023 to April 18, 2023, as well as, the exclusion of time from

April 18, 2023 through May 18, 2023.
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                                         Respectfully submitted,
                                                /s/
                                         ______________________
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                                         Greenbelt, Maryland 20770
                                         (301) 474-0044
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                            CERTIFICATE OF SERVICE

      I hereby certify that on this day, May 1, 2023, a copy of the foregoing was sent via

ECF to the United States Attorney’s Office for the District of Columbia.


                                               /s/
                                         ______________________
                                         Michael E. Lawlor
